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           EXHIBIT 
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From:             Joshua Riley
To:               Eden Quainton
Cc:               Meryl Governski; Michael Gottlieb; Sam Hall
Subject:          Rich v. Butowsky / Butowsky Discovery Responses
Date:             Thursday, November 14, 2019 10:28:00 AM
Attachments:      RE Rich v. Butowsky et al., RFAs and Deposition Schedule.pdf
                  Rich Response to Butowsky Interrogatory.pdf
                  Rich Response to Butowsky RFP.PDF
                  2019.10.11 S. Hall to P. Harvey.pdf
                  2019-10-02 Governski Ltr to Sorrell Re Butowsky Production.pdf


Mr. Quainton,

We understand that you now are representing Mr. Butowsky in the above-referenced matter.
As explained in the attached correspondence, Mr. Butowsky is in violation of the Court’s July
31 order granting Plaintiff’s motion to compel Mr. Butowsky’s responses to Plaintiff’s First
RFP and First Set of Interrogatories. Because Mr. Butowsky has not responded to any of our
multiple attempts to meet-and-confer about the deficiencies in his productions, much less
committed to resolving them, we are in the process of preparing a Rule 37 motion for filing by
November 18, which is the deadline we provided Mr. Butowsky to resolve these matters.
Now that you have appeared as Mr. Butowsky’s counsel, please let us know times when you
are available today or tomorrow to discuss these issues so we can try to avoid motions
practice. The deficiencies and delays in Mr. Butowsky’s discovery responses are
unacceptable, and they have persisted for too long; we either need clear commitments as to
how and when they will be addressed or we will need to seek assistance from the Court.
We’re committed to working cooperatively with you to avoid the latter.

~Josh

Joshua Riley
Partner

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www.bsfllp.com
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From:             Joshua Riley
To:               ebutowsky@gmail.com
Cc:               "Hall, Samuel"
Subject:          RE: Rich v. Butowsky et al., RFAs and Deposition Schedule
Date:             Tuesday, November 12, 2019 4:26:56 PM
Attachments:      2019.11.12 Notice of Deposition (Butowsky).pdf


Mr. Butowsky,

I attach and hereby serve a notice for your deposition.

We still have not received from you the information the Court ordered you to produce in
response to Plaintiff’s First Request for Production of Documents and Plaintiff’s First Set of
Interrogatories. You have not produced that information to us despite our multiple emails and
letters to you—including those of September 13, October 17, October 30, and November 4—
requesting that you comply with the Court’s order and produce the information. If you do not
comply fully with your discovery obligations before your deposition, we will reserve the right
to hold your deposition open or to re-depose you upon satisfaction of your discovery
obligations.

~Josh

Joshua Riley
Partner

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1401 New York Avenue, N.W.
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(t) 202 237.2727
jriley@bsfllp.com
www.bsfllp.com


From: Hall, Samuel [mailto:SHall@willkie.com]
Sent: Monday, November 4, 2019 2:55 PM
To: ebutowsky@gmail.com
Cc: Joshua Riley <jriley@bsfllp.com>
Subject: RE: Rich v. Butowsky et al., RFAs and Deposition Schedule

Mr. Butowsky,

We are writing once more to follow up on our request that you (1) provide potential deposition
dates and locations that will work with your schedule, and (2) remedy the deficiencies in your
existing discovery responses that we detailed in our previous letters to you and your prior counsel.
We attach those letters again here for your convenience.

This is our third request for this information, and thus far, we have not received any response. If we
do not hear from you by this Friday, November 8, regarding deposition dates and locations, we will
issue a deposition notice with a date and location of our choosing. In addition, we ask that you
remedy the deficiencies detailed in the attached letters by Monday, November 18, 2019. We
reserve the right to seek sanctions pursuant to Rule 37 related to your ongoing refusal to participate
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in discovery.

Regards,


Samuel Hall
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Direct: +1 202 303 1443 | Fax: +1 202 303 2443
shall@willkie.com | vCard | www.willkie.com bio

From: Hall, Samuel
Sent: Wednesday, October 30, 2019 8:04 PM
To: ebutowsky@gmail.com
Cc: 'Philip Harvey' <pharvey@harveybinnall.com>; Joshua Riley <jriley@bsfllp.com>
Subject: RE: Rich v. Butowsky et al., RFAs and Deposition Schedule

Mr. Butowsky,

We have not received any response to our email below—sent just under two weeks ago—regarding
dates for a deposition in the above-referenced litigation and deficiencies in your production and
interrogatory responses. We are again asking that you provide available dates and a preferred
location (assuming that will be in Texas) for your deposition so that we may proceed with discovery.

We will reiterate that Mr. Rich reserves the right to seek all remedies, including sanctions pursuant
to Rule 37 and additional or extended depositions, related to your continued refusal to meaningfully
participate in this matter. Given that discovery closes in less than three months, we will soon be
forced to seek relief from the Court if we do not hear from you.

Regards,




Samuel Hall
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From: Hall, Samuel
Sent: Thursday, October 17, 2019 5:12 PM
To: ebutowsky@gmail.com
Cc: 'Philip Harvey' <pharvey@harveybinnall.com>; Joshua Riley <jriley@bsfllp.com>
Subject: Rich v. Butowsky et al., RFAs and Deposition Schedule

Mr. Butowsky,
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We are emailing you, cc’ing Mr. Harvey, because the Court has granted his motion to withdraw as
your attorney but we now have a pending motion for reconsideration of that order. We intend to
continue to copy Mr. Harvey on correspondence with you until we have received a ruling on our
motion or until suitable replacement counsel has entered an appearance on your behalf. That said,
please advise if you have appointed new representation in this matter with whom we can confer on
these and other outstanding and future issues.

I attach discovery requests dated today, seeking responses to requests for admission pursuant to
Rules 26 and 36 of the Federal Rules of Civil Procedure. These requests are due within thirty days of
service.

In addition, we would like to notice your deposition for a date in mid-January prior to the close of
discovery. Please promptly provide available dates and preferred location (assuming that will be
in Texas).

Because discovery closes in three months, we are noticing this deposition based on the expectation
that you will make a good faith effort to engage in discovery. To date, your production and
interrogatory responses have been wholly deficient (and in the case of some of your interrogatory
answers demonstrably false) for all of the reasons we have articulated in a number of
communications with Mr. Harvey. Please confirm that you are in possession of those
communications and are working to address the inadequacies articulated therein. Mr. Rich reserves
the right to seek all remedies, including to seek sanctions pursuant to Rule 37, keep the deposition
open and/or request a second deposition, related to your continued obfuscation of your discovery
obligations.

Finally, we are in receipt of the first set of interrogatories that Mr. Harvey served on October 7.
Because you asked for material that squarely qualifies as Highly Confidential–Attorney’s Eyes Only
pursuant to the Protective Order in the case, we will serve you with answers that redact that type of
information. As soon as you appoint counsel that has entered an appearance in the case, we will
provide that attorney with an unredacted version.

Regards,


Samuel Hall
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                                                                           Edward Butowsky
                                                                          September 13, 2019


sufficient specificity. Byrd, No. CIV.A.96-2375CKK JMF, 1998 WL 429676, at *8.
Additionally, to the extent Mr. Butowsky has additional communications beyond those supplied
on the privilege log he provided with his Production that is relevant to this Answer, he is
obligated to list them with specificity or produce them.


                                          BOIES SCHILLER FLEXNER LLP

                                          /s/ Meryl C. Governski
                                          Meryl C. Governski




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October 11, 2019

Phillip Harvey
Harvey & Binnall, PLC
717 King Street, Suite 300
Alexandria, Virginia 22314
psonell@harveybinnall.com

          Re: Rich v. Butowsky et al, Civil Action No. 1:18-cv-00681-RJL

Mr. Harvey:

We are writing to address Mr. Butowsky’s production in response to Plaintiff’s First Set Of Requests for
Production of Documents (“RFPs”). Specifically, we are following up on Mr. Butowsky’s failure to
provide any documents in response to Request No. 4, despite representations to the Court that they would
be produced by September 2, 2019—well over a month ago.

As you know, during the July 31, 2019, hearing, the Court granted our motion to compel production of
materials responsive to Plaintiff’s RFP. And during that hearing, you made the following request to the
Court regarding Request No. 4:

          The Court ordered the responses within 21 days. One of the requests deal with documents
          concerning what I would say is unrelated but nonetheless third-party litigation:
          Chapwood Capital v. Charles Schwab, Butowsky v. FINRA, and an arbitration involving
          Morgan Stanley and my client. Those documents have been requested, and the Court
          has just ordered me to produce them. . . . while I respond to the discovery within 21
          days, if I can have an additional ten days to produce that stuff, I would much appreciate
          it, and I don't think it would harm anybody since the relevance of that is tangential, and I
          don't think it is going to result in depositions from somebody from Charles Schwab to
          find out if my client was alleged to have defrauded them. If I can have an additional ten
          days, that's all I'm asking for.

ECF 75, July 31, 2019, Hearing Tr. at 11:4–12:2 (emphasis added). The Court granted your request,
making production of those document due, at the very latest, on September 2, 2019. As of today,
however, Mr. Butowsky has not produced a single responsive document to this request and we are now
well over a month past the already-extended due date.



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Page 2


Please promptly produce the materials that are now over-due. Mr. Rich reserves all rights relating to
Mr. Butowsky’s ongoing refusal to meaningfully participate in discovery.


                                                   Respectfully,

                                                   /s/ Samuel Hall
                                                   Willkie Farr & Gallagher LLP
                                                   1875 K Street, NW
                                                   Washington, DC 20006
                                                   Phone: (202) 303-1443
                                                   Fax: (202) 303-2126
                                                   shall@willkie.com




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                                                                              Edward Butowsky
                                                                                October 2, 2019


as explained in our September 13 letter and acknowledged in your September 18 letter, it appears
that Mr. Butowsky did not produce any documents in TIFF format as required by the ESI
Stipulation. See Dkt. 36 ¶¶ 9-10; id. at 8-12. As such, we were required to process and convert
Mr. Butowsky’s production into the agreed-upon production format, and we reserve the right to
seek related costs. For future productions, we respectfully request each production be made in
TIFF format.
        Mr. Butowsky’s Production was technically deficient in additional ways. The ESI
Stipulation requires Mr. Butowsky to provide metadata that includes labelling documents by type
(with “P” for parent documents, and “C” for child documents); providing a document date for
every document (this is the date sent for emails, and the latest chronologically saved date for
other electronic documents, in the MM/DD/YYYY format); listing a title name for each file
(which can be the same or different from the file name); and notating in the metadata where there
are redactions and confidentiality designations. Mr. Butowsky did not comply with these
requirements; therefore, we were required to add the missing metadata, and we reserve our rights
with respect to any associated costs incurred.
        We respectfully request that Mr. Butowsky comply with the terms of the ESI Stipulation
in future productions.


                                                           Respectfully,

                                                           /s/ Meryl C. Governski
                                                           Meryl C. Governski

                                                            BOIES SCHILLER FLEXNER LLP




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